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                                          Exhibit C: Claims Not in Compliance with the Bankruptcy Rules
                                                                                                                                      Omnibus
                                        Schedule F    Schedule F                                         Allowed      Disputed
                  Creditor                                       C, U, D        POC#     POC Amount                                   Objection
                                         Amount          No.                                              Claim        Claims
                                                                                                                                     Paragraphs
Bursese Electric Inc.
1275 Bloomfield Avenue, Building 1-
                                         $88,663.55         3.32                 69      $100,668.90                  $100,668.90      28-32
6AR
Fairfield, NJ 07004
Buttonwood Company, Inc.
P.O. Box 500                             $78,410.00         3.34                 21       $86,420.00                   $86,420.00      28-32
Eagleville, PA 19408
Cippco Inc.
9323 Keystone Street                    $151,981.07         3.36 C, U, D         32      $174,420.29                  $174,420.29      28-32
Philadelphia, PA 19114
Corporate Interiors Inc.
226 Lisa Drive                           $15,252.32         3.41                 29        $16,007.55                  $16,007.55      28-32
New Castle, DE 19720
Cypress Door & Glass LLC
185 Lancaster Avenue                    $108,086.13         3.43                 75       $123,908.00                 $123,908.00      28-32
Malvern, PA 19355
DDM Steel
3659 North Delsea Drive                  $44,784.69         3.44    C            53        $64,857.00                  $64,857.00      28-32
Vineland, NJ 08360
East Third Media, LLC
c/o Wright Partners
Attn: Carl Wright                             $0.00         3.53 C, U, D         14       $416,830.05                 $416,830.05      28-32
20 South Olive Street, Suite 203
Media, PA 19063
EC Fence & Iron Works Inc.
                                                                               Amended
2941 Felton Road                         $18,039.00         3.54                           $37,689.00                  $37,689.00      28-32
                                                                                 43
Norristown, PA 19401
Edward B. O'Reilly & Associates, Inc.
30 West Highland Avenue                 $149,729.15         3.55                  5       $161,707.48                 $161,707.48      28-32
Philadelphia, PA 19118
Action Store Fronts, Inc.
Attn: Jeffrey M. Farinacci
                                               N/A          N/A                  58       Unliquidated                Unliquidated     28-32
263 Union Blvd.
West Islip, NY 11795
Fromkin Brothers Inc.
4510 Adams Circle, Unit E               $172,641.01         3.59                 73       $207,686.51                 $207,686.51      28-32
Bensalem, PA 19020
Genova, Burns, Giantomasi & Webster
                                                                               Amended
2 Riverside Drive                         $2,722.50         3.62                            $8,175.75                   $8,175.75      28-32
                                                                                  4
Camden, NJ 08103
Hanover Insurance Company
Attn: Bari K. Shinbaum, Esquire
Hanover Insurance Co.
                                               N/A          N/A                  59       Unliquidated                Unliquidated     28-32
Manson & McCarthy
17 State Street, 8th Floor
New York, NY 10004
HK Panels Systems
1500 Industry Road, Suite G              $21,999.50         3.71                 65        $30,550.40                  $30,550.40      28-32
Hatfield, PA 19440
Kevin J. Bailey & Son LLC
917 Northwood Avenue                     $33,668.11         3.82                 63        $62,264.30                  $62,264.30      28-32
Cherry Hill, NJ 08002
MAC Sprinkler Inc.                                                              Second
3812 W. 9th Street                       $20,562.91         3.91               Amended     $20,562.92    $20,562.92                    28-32
Levittown, PA 19057                                                               10
Massachusetts Bay Insurance Company
c/o Brian W. Bisignani, Esquire
Post & Schell PC                               N/A          N/A                  60       Unliquidated                Unliquidated     28-32
1869 Charter Lane
Lancaster, PA 17601




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                                         Schedule F    Schedule F                                        Allowed        Disputed
                  Creditor                                        C, U, D        POC#     POC Amount                                   Objection
                                          Amount          No.                                             Claim          Claims
                                                                                                                                      Paragraphs
Mayfield Site Contractors
596 Swedeland Road                       $149,200.00         3.94                 64       $192,140.27                  $192,140.27     28-32
King of Prussia, PA 19406
McCarthy Masonry and Concrete, Inc.
740 E. Cherry Road                       $114,620.63         3.95                 11       $127,808.12                  $127,808.12     28-32
Quakertown, PA 18951
Med-Tex Services Inc
P.O. Box 240                                 $680.00         3.96               3 & 24        $902.18                       $902.18     28-32
Penns Park, PA 18943
Morris Black & Sons, Inc.
984 Marcon Blvd.                           $9,979.34         3.99                 17        $12,350.01                   $12,350.01     28-32
Allentown, PA 18109
Nerd Street Gamers Localhost
Philadelphia, LLC
Attn: John Fazio, CEO                          $0.00        3.104 C, U, D         72       $746,102.00                  $746,102.00     28-32
908 North Third Street
Philadelphia, PA 19123
Northeast Fire Proofing
608 Ryan Avenue                           $11,996.39        3.108                 45        $16,596.39                   $16,596.39     28-32
Westville, NJ 08093
Pennsylvania Flooring
66 Ford Road, Suite 141                  $117,611.40        3.114    C            47       $155,912.40                  $155,912.40     28-32
Denville, NJ 07834
Reilly Glazing Inc
200 E. Washington Street                 $176,233.00        3.125                 61       $192,124.50                  $192,124.50     28-32
Norristown, PA 19401
RW Professional Cleaning LLC
112 Curnard Street                        $37,414.75        3.129    C            74        $58,754.75                   $58,754.75     28-32
Wilmington, DE 19804
Schaibles Mechanical LLC
                                                                                Amended
241 Van Syckles Road                      $33,374.47        3.132                           $28,302.30   $28,302.30                     28-32
                                                                                  50
Hampton, NJ 08827
Schaibles Plumbing & Heating, Inc.
c/o DL Thompson Law, PC
                                                N/A          N/A                  51        $37,517.38                   $37,517.38     28-32
P.O. Box 679
Allenwood, NJ 08720

Scope FLP Pennington SM, LLC
Attn: Didier Choukroun, Manager
One Biscayne Tower                             $0.00        3.134 C, U, D         56       $647,407.79                  $647,407.79     28-32
2 South Biscayne Boulevard, Suite 2000
Miami, FL 33131

Scungio & Company
117 Moore Drive                           $97,832.00        3.135                                        $97,832.00                     28-32
Media, PA 19063
Scungio Borst International
117 Moore Drive                           $15,168.00        3.136                                        $15,168.00                     28-32
Media, PA 19068
Shopping Center Associates
c/o Simon Construction Group
Attn: Michael E. McCarty, President            $0.00        3.139 C, U, D         48                                  $2,623,038.65     28-32
225 West Washington Street, 9th Floor
Indianapolis, IN 46204
Summit Architectural Metals & Glass
920 Eldridge Drive, Suite G               $79,015.11        3.142                 66       $116,006.03                  $116,006.03     28-32
Hagerstown, MD 21740
Superior Scaffold Services Inc.
600 Center Avenue                         $15,552.57        3.143    C            18        $28,409.28                   $28,409.28     28-32
Bensalem, PA 19020




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                                                                                                                           Omnibus
                                     Schedule F    Schedule F                                     Allowed   Disputed
                  Creditor                                    C, U, D       POC#   POC Amount                              Objection
                                      Amount          No.                                          Claim     Claims
                                                                                                                          Paragraphs
Towne and Country Roofing & Siding
4775 Lerch Road                       $34,355.44        3.148    C           6       $48,097.61              $48,097.61     28-32
Bensalem, PA 19020
Troost Fire Protection
58 Hyatt Road                         $12,143.35        3.150                35      $13,492.61              $13,492.61     28-32
Branchville, NJ 07826
United Rentals
P.O. Box 100711                       $35,453.02        3.151                77      $49,491.20                             28-32
Atlanta, GA 30384-0711
William Walter Construction Group
LLC
Attn: Michael Barbella               $215,738.83        3.157                38     $230,466.36             $230,466.36     28-32
1431 N. Tuckahoe Road
Williamstown, NJ 08094




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